Case 1:18-cr-00491-WMR-CCB Document 279 Filed 10/22/21 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA ::
                                                   CRIMINAL ACTION FILE
      V.                          ::

                                                   NO. 1:18-CR-491-05-WMR"CCB
CHADWICK OSBOURNE STF^VART ::


                   UNITED STATES MAGISTRATE JUDGE'S
                  FINAL REPORT AND RECOMMENDATION
                      CONCERNINGPLEA OF GUILTY

      The Defendant/ by written consent/ has appeared before me with counsel and


has tendered a plea of guilty to counts 1 and 5 of the indictment/ namely/ violations


of Title 18, United States Code/ Sections 1349 and 1028A. After cautioning and

examining the Defendant on the record and under oath concerning each of the


subjects mentioned in Federal Rule of Crimmal Procedure II/1 have determined

that (1) the Defendant has knowingly/ voluntarily/ and intelligently waived his

constitutional rights/ (2) his guilty plea was knowing and voluntary/ and (3) the

offenses charged in the indictment to which he is pleading guilty are supported by

an independent basis in fact establishing each of the essential elements of such

offenses.
Case 1:18-cr-00491-WMR-CCB Document 279 Filed 10/22/21 Page 2 of 2




      I therefore RECOMMEND that the plea of guilty be ACCEPTED and that

the Defendant be adjudged guilty and have sentence imposed accordingly.

      By separate order/ the Defendant is advised that his failure to file written

objections to this Report and Recommendation within 14 days after service of a copy

of this Report and Recommendation shall bar him from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C.


§ 636(b)(l)(B).

      IT IS SO RECOMMENDED this 22nd day of October/ 2021.




                                      CHRISTOPHER C. BUS
                                      UNITED STATES MAGISTRATE JUDGE




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